         Case 3:07-cr-00114-LC               Document 137       Filed 01/14/08     Page 1 of 6


FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                         Page 1 of 6
3:07CR114-001LAC - ALEKSANDER V. BERMAN a/k/a Alex Berman


                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF FLORIDA
                                        PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                        Case # 3:07CR114-001LAC

ALEKSANDER V. BERMAN
a/k/a Alex Berman
                                                            USM # 06783-017

                                                            Defendant’s Attorney:
                                                            Donald M. Sheehan (Retained)
                                                            1500 West Garden Street
                                                            Pensacola, Florida 32501
___________________________________
                              JUDGMENT IN A CRIMINAL CASE
The defendant pled guilty to Count One through Twelve of the Indictment on October 17, 2007.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which involve
the following offenses:
       TITLE/SECTION                     NATURE OF                  DATE OFFENSE
          NUM BER                         OFFENSE                    CONC LUDED               COUNT

 18 U.S.C. § 371               Conspiracy to Comm it Visa          September 18, 2007          One
                               Fraud (Make False Statements)

 18 U.S.C. §§ 1546(a)          Visa Fraud (Making False            February 21, 2007      Two through
 and 2                         Statements)                                                  Eleven

 8 U.S.C . §                   Conspiracy to Encourage Aliens      September 18, 2007         Twe lve
 1324(a)(1)(A)(iv),            to Unlawfully Enter and Reside
 (a)(1)(A)(v)(I) and           in the United States
 (a)(1)(B )(i)

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

Counts Thirteen through Twenty-Seven dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

                                                            Date of Imposition of Sentence:
                                                            January 4, 2008
                                                            s /L.A. Collier
                                                            LACEY A. COLLIER
                                                            SENIOR UNITED STATES DISTRICT JUDGE
                                                            January 14, 2008
         Case 3:07-cr-00114-LC               Document 137        Filed 01/14/08   Page 2 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                        Page 2 of 6
3:07CR114-001LAC - ALEKSANDER V. BERMAN a/k/a Alex Berman


                                              IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of Twenty-Three Months as to Counts One through Twelve, with Counts
to run concurrently one with the other.

        The defendant is remanded to the custody of the United States Marshal.




                                                   RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                              __________________________________
                                                                    UNITED STATES MARSHAL


                                                            By:__________________________________
                                                                        Deputy U.S. Marshal
         Case 3:07-cr-00114-LC               Document 137        Filed 01/14/08         Page 3 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                               Page 3 of 6
3:07CR114-001LAC - ALEKSANDER V. BERMAN a/k/a Alex Berman

                                         SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term
of Three Years as to Counts One through Twelve, with Counts to run concurrently one with
the other.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                           STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.      The defendant shall not leave the judicial district without the permission of the court or probation
        officer;

2.      The defendant shall report to the probation officer and shall submit a truthf ul a nd complete written
        report within the first five days of each month;

3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
        of the probation officer;

4.      The defendant shall support his or her dependents and meet other family responsibilities;

5.      The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
        schooling, training, or other acceptable reasons;

6.      The defendant sh all notify the pro bation officer at least 1 0 days prior to any change in residence or
        em ploym ent;

7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
        distribute, or adm inister any controlled sub stan ce o r any parap hern alia relate d to any controlled
        substances, except as prescribed by a physician;

8.      The defendant sh all not frequent places where controlled substances are illegally sold, used,
        distributed, or administered;

9.      The defendant shall not associate with any persons engaged in criminal activity and shall not
        ass ociate with any person convicted of a felony unless granted permission to do so by the probation
        officer;
         Case 3:07-cr-00114-LC               Document 137           Filed 01/14/08          Page 4 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                    Page 4 of 6
3:07CR114-001LAC - ALEKSANDER V. BERMAN a/k/a Alex Berman


10.     The defendant sh all permit a probation officer to visit him or her at any time at hom e or elsewhere and
        shall permit confiscation of any contraban d observe d in plain view of the proba tion officer;

11.     The defendant sh all notify the probation officer within 72 hours of being arrested or questioned by
        a law enforcem ent officer;

12.     The defendant shall not enter into any agreement to act as an informer or a special agent of a law
        enforcement agency without the permission of the court; and

13.     As directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant’s criminal record or personal histo ry or characteristic s and shall perm it
        the probation officer to mak e such n otifications and to con firm the defendant’s compliance with such
        notifica tion req uirem ent.

14.     If this judgme nt impos es a fine or a restitution obligation, it shall be a condition of supervision that the
        defendant pay an y such fine or res titution in ac cordan ce w ith the S che dule of Paym ents set fo rth in
        the C rim inal Mone tary Penalties she et of this judg m ent.

                   ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

        The defendant shall also comply with the following additional conditions of supervised
        release:

        The defendant shall provide the probation officer with access to any requested
        financial information and report the source and amount of personal
        and/or business income and financial assets to the supervising probation officer
        as directed.

        The defendant shall not incur new credit charges or open additional lines of
        credit without the approval of the probation officer unless the defendant has
        satisfied all of his financial obligations.

        The defendant shall not transfer or dispose of any asset, or his interest in any
        asset, without the prior approval of the probation officer unless the defendant
        has satisfied all of his financial obligations.
         Case 3:07-cr-00114-LC               Document 137   Filed 01/14/08   Page 5 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                   Page 5 of 6
3:07CR114-001LAC - ALEKSANDER V. BERMAN a/k/a Alex Berman
       Upon a finding of a violation of probation or supervised release, I understand the Court
may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions
of supervision.
       These conditions have been read to me. I fully understand the conditions and have
been provided a copy of them.




        Defendant                                                   Date




        U.S. Probation Officer/Designated Witness                   Date
         Case 3:07-cr-00114-LC               Document 137     Filed 01/14/08     Page 6 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                       Page 6 of 6
3:07CR114-001LAC - ALEKSANDER V. BERMAN a/k/a Alex Berman

                                 CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the
Bureau of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S.
District Court, unless otherwise directed by the Court. Payments shall be made payable to the
Clerk, U.S. District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-
7717. Payments can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall pay
interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options in the Schedule of Payments may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(g).

                                                   SUMMARY
          Special
    Monetary Assessment                                Fine                     Restitution

             $1,200.00                                  $0                           $0




                                SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $1,200.00 is imposed and is to be paid immediately.
($100.00 for each of Counts One through Twelve)

No fine imposed.
No restitution imposed.


                                            FORFEITURE

A Consent Order and Judgment of Forfeiture in the amount of $1,000,000.00 has been entered.
This Consent Order and Judgment of Forfeiture is against the defendant, jointly and severally
with co-conspirators, Anna Shaulova Czerwien (3:07cr106-001LAC), Justin Eric King
(3:07cr114-002LAC) and Vyacheslave Adol’fovich Finkel (3:07cr114-003LAC).

See Preliminary Order of Forfeiture (Document 128) for a list of vehicles subject to forfeiture.
